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                    EXHIBIT A
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                                                                           FILED
                                                                        CIVIL DIVISION
                                                                        APR 08 2025
SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
CIVIL DIVISION                                                       Superior Court of the
                                                                     District ef Columbia
Ethan Arnheim
1818 4th Street NW
Washington, DC 20001
Plaintiff,
                                                                            2025 2161
V.


Citibank, N.A.
c/o Branch Manager
1258 Wisconsin Avenue NW
Washington, DC 20007

Also serving:
Citibank, N.A.
388 Greenwich Street
New York, NY 10013
Defendant.

Case No.:



COMPLAINT

(Jury Trial Demanded)

Plaintiff, Ethan Arnheim, appearing pro se, alleges as follows:

PARTIES

     1.      Plaintiff, Ethan Arnheim, is a natural person residing at 1818 4th Street NW, Washington,
             DC 20001.

     2.      Defendant, Citibank, N.A., is a federally chartered national banking association
             headquartered at 388 Greenwich Street, New York, NY 10013, and is authorized to
             conduct business in the District of Columbia. For purposes of service, Citibank operates a
             full-service branch at 1258 Wisconsin Avenue NW, Washington, DC 20007, where it
             maintains a presence in the District.



 JURISDICTION AND VENUE
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   3. This Court has jurisdiction under D.C. Code § 11-921.

  4.    Venue is proper under D.C. Code § 13-423(a) because Citibank transacts business in the
        District and the actions giving rise to this complaint occurred within the District.

FACTUAL ALLEGATIONS

   5.   Plaintiff had maintained seven deposit accounts with Citibank, all of which were in good
        standing and provided substantial balances:

           o   Checking Account ending in -4377

           o   Savings Plus Account ending in -5406

           o   Savings Plus Account ending in -4385

           o   Savings Plus Account ending in -4393

           o   Savings Plus Account ending in -5425

           o   Citi Savings Account ending in -2939

           o   Citi Savings Account ending in -6498

  6.    In December 2024, Citibank notified Plaintiff that certain Know Your Customer (KYC)

        documentation was needed for his accounts.

   7.   Plaintiff promptly provided all requested documents and participated in multiple calls to
        resolve the issue. Citibank confirmed the KYC alert was cleared from Plaintiff's account,
        with no further issues raised at that time.

  8.    On April 4, 2025, without any prior notice or explanation, Citibank froze# all seven of
        Plaintiff's accounts. Plaintiff was unable to access or withdraw his own funds.

  9.    Citibank did not inform Plaintiff in advance, nor did it offer any explanation for the
        freeze. There was no notice, no warning, and no clarification provided by Citibank.

   10. After the freeze, Plaintiff immediately contacted Citibank's customer service, spending
        multiple hours on hold and being transferred between various departments without any
        meaningful resolution.

   11. On April 7, 2025, Plaintiff visited Citibank's Georgetown branch located at 1258
        Wisconsin Avenue NW, Washington, DC 20007, where he spent over five hours
        attempting to resolve the matter in person with Seun Adeyemi, a Citibank Relationship
        Manager. Unfortunately, Mr. Adeyemi was unable to assist further, as the KYC
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       representatives with whom he was in contact failed to provide any resolution or
       meaningful assistance.

   12. As a result of Citibank's actions, Plaintiff's financial stability has been severely disrupted.
       Specifically:

   e   Mortgage payments have been rejected due to insufficient funds, putting Plaintiff at risk
       of default and potential foreclosure.

   e   Plaintiff has incurred fees and penalties, including returned check fees, late fees, and
       interest penalties totaling approximately $10,000 due to Citibank's failure to provide
       access to his accounts.

   e   Plaintiff has also lost interest earnings on the funds held in the frozen accounts, further
       compounding his financial losses.

   13. Plaintiff's accounts, which hold approximately $300,000, remain frozen by Citibank
       without explanation or remedy. This continued action constitutes a severe violation of
       Plaintiff's rights and has caused significant economic harm.



LEGAL DUTIES AND VIOLATIONS

   14. Citibank had a contractual obligation to Plaintiff under the banking agreement governing
       the accounts. Citibank also owed Plaintiff a duty of care to manage his accounts
       responsibly and provide access to his funds.

   15. Citibank violated 12 CFR § 1005.11, which governs the timely resolution of account

       errors, and 12 CFR § 103.121, which requires KYC compliance procedures to be fair and
       reasonable.

   16. Citibank also breached the implied covenant of good faith and fair dealing by freezing
       Plaintiff's accounts without warning, failing to provide adequate customer support, and
       refusing to explain or resolve the issue despite multiple attempts by Plaintiff to address
       the matter.

   17. Citibank's failure to honor its duties and obligations has resulted in substantial damages
       to Plaintiff, including the following:

   e   $300,000 in funds that remain inaccessible

   e   $10,000 in fees, penalties, and lost interest

   e   Risk of mortgage default and financial harm
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CAUSES OF ACTION

Count   |
            -
                Breach of Contract

    18. Citibank has materially breached the banking contract by blocking Plaintiff's accounts
            without valid cause, notice, or resolution, thereby causing Plaintiff significant financial
            harm.

Count II    -
                 Breach of the implied Covenant of Good Faith and Fair Dealing

    19. Citibank's actions, including its failure to inform Plaintiff of account issues and its

            unresponsiveness to Plaintiff's requests for help, violate the implied covenant of good
            faith and fair dealing inherent in every contract.

Count Ill    -

                 Negligence

    20. Citibank owed Plaintiff a duty of reasonable care in managing and servicing Plaintiff's
            accounts. By freezing the accounts without cause and failing to promptly resolve the
            issue, Citibank negligently caused financial damage to Plaintiff.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in favor of Plaintiff
and against Defendant, Citibank, as follows:

A. $10,000 in compensatory damages for fees, penalties, and losses incurred due to Defendant's
negligence;
B. $300,000 for the return of Plaintiff's funds, which remain inaccessible;
C. Pre- and post-judgment interest on all damages;
D. Punitive damages for Citibank's willful misconduct and bad faith conduct;
E. Costs and disbursements of this action;
F. Any other relief the Court deems just and proper.




JURY DEMAND

Plaintiff demands a trial by jury on all triable issues.



Dated: April 8, 2025
Washington, DC

Respectfully submitted,
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Ethan Arnheim
Ethan Arnheim
1818
1818 4th
     4th Street
         Street NW
                NW
Washington,
Washington, DC
             DC 20001
                20001
+240 393
+240 393 2668
          2668

ethanarnheim@gmail.com
ethanarnheim@gmail.com
Plaintiff, Pro Se
Plaintiff, Pro Se
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                                           Superior Court of the District of Columbia
                                                       CIVIL DIVISION
                                                      Civil Actions Branch
                                 500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
          fr                          Telephone: (202)879-1133 Website: www.dccourts.gov

    Ethan Arnheim
                                                                  Plaintiff
                                     VS.

                                                                                                    Case Number
                                                                                                                 2025 2161
    Citibank NA
                                                                 Defendant


                                                                 SUMMONS
  To the above named Defendant:

          You are hereby summoned and required to serve an Answer to the attached Complaint, either
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

         You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint.

 Ethan Arnheim                                                                               Clerk of the Court
 Name of Plaintiffs Attorney

 Pro Se                                                                       By
                                                                                                                                           y   N




 Address                                                                                                       uly      er
 1818 Ath Street NW WDC 20001

 240 393 2668                                                                 Date
 Telephone                                                                                                          :




 20Bis qdiT Bis (202) 879-4828             Veuillez appeler au (202) 879-4828 pour une traduction     Dé co   coy            bd} pee 720
 HOS AOAMM, (202) 879-4828SE MARAE                           4-079° ASNT HT   (202) 879-4828    Craw
                                                                                                                        TOF
   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE. OR IF. AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN. THE
 COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                   See reverse side for Spanish translation
                                                    Vea al dorso la traduccién al espanol




CV-3110 [Rev. June 2017]                                                                                                         Super. Ct. Civ. R. 4
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          Superior Court of the District of Columbia
                                              CIVIL DIVISION CIVIL ACTIONS BRANC
                                                                                                            2025
                                                                     -




                                                            INFORMATION SHEET
                                                                                                                                 2 1    61
       Ethan Arnheim                                                       Case Number:
                              Plaintiffts)
                                  VS                                       Date:

       Citibank, NA                                                                One of the defendants is being sued
                             Defendant(s}                                          in their official capacity.

      Name: (Please Print)                                                                      Relationship to Lawsuit
     Ethan Arnheim
      Firm Name:                                                                                        Attorney for Plaintiff
     Pro Se                                                                                          v Self (Pro Se)
      Telephone No.:                   DC Bar No.:
     (240) 393-2668                                                                                 O Other:
      TYPE OF                     Non-Jury                  6 Person Jury                           (1) 12 Person Jury
      Demand: $     ¥                                                                  Other:
                              t
      PENDING CASE(S) RELATED TO THE ACTION BEING FILED
      Case No.:                                         Judge:                                    Calendar #:

      Case No.:                                         Judge:                                    Calendar #:


NATURE OF SUIT:              (Check One Box Only)
CONTRACT                                     COLLECTIONANS. SUB                                         EMPLOYMENT DISPUTE
v Breach of Contract                   O Debt Collection                                              o   Breach of Contract

    Breach of Warranty                 a     Insurance Subrogation                                    O Discrimination
   Condo/Homeowner Assn. Fees          a     Motion/Application for Judgment by Contession            o   Wage Claim
   Contract Enforcement                O     Motion/Application Regarding Arbitration Award           O Whistle Blower
   Negotiable Instrument                                                                              O Wrongful Termination
REAL PROPERTY                                                                                              (] FRIENDLY SUIT
   Condo/Homeowner Assn. Foreclosure           CT Ejectment                O   Other
                                                                                                           (] HOUSING CODE REGULATIONS
   Declaratory Judgment                             Eminent Domain         O Quiet Tite           O QUITAM
   Drug Related Nuisance Abatement             O Interpleader              O Specific Performance [] STRUCTURED SETTLEMENTS
ADMINISTRATIVE PROCEEDINGS                                                                                   AGENCY APPEAL
   Administrative Search Warrant                                 O       Release Mechanics Lien                 O Dangerous Animal Determination
   App. for Entry of Jgt. Defaulted Compensation Benefits        o       Request for Subpoena                   O DCPS Residency Appeal
   Enter Administrative Order as Judgment                        MALPRACTICE                                    O Merit Personnel Act (OEA)
[] Libel of Information                                                  Medical   -
                                                                                       Other                       Merit Personnel Act (OHR)
   Master Meter
                                                                 O Wrongful Death                               O Other Agency Appeal
   Petition Other
                                                            CT APPLICATION FOR INTERNATIONAL FOREIGN JUDGMENT




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                                   Information Sheet, Continued


CIVIL ASSET FORFEITURE                                                  TORT
CL] Currency                                                                  Abuse of Process

     Other                                                                    Assault/Battery

     Real Property                                                            Conversion

     Vehicle                                                                  False Arrest Malicious Prosecution

NAME CHANGE/VITAL RECORD AMENDMENT                                            LibelStanderDetamation
     Birth Certificate Amendment                                              Personal Injury

     Death Certificate Amendment                                              Toxic Mass

     Gender Amendment                                                         Wrongful Death (Non-Medical Malpractice)
     Name Change

GENERAL CIVIL                                             Product Liability                      STATUTORY CLAIM
     Accounting
                                                          Request for Liquidation
                                                                                                      Anti- SLAPP
     Deceit (Misrepresentation)                                                                       Consumer Protection Act
                                                          WritofReplevin
     Fraud
                                                          Wrongful Eviction                       O Exploitation of Vulnerable Adult
     Invasion of Privacy
                                                        CIVIL /COMPLEX CIVIL                          Freedom ofInformation Act (FOTA)
     Lead Paint                                           Asbestos                                    Other

     Legal Malpractice                                  MORTGAGE FORECLOSURE                     TAX SALE FORECLOSURE
     Motion/Application Regarding Arbitration Award       Non-Residential                         C   Tax Sale Annual

[]   Other   -
                 General Civil                            Residential                                 tax Sale Bid Off

VEHICLE
     Personal Injury
                                 O TRAFFIC ADJUDICATION APPEAL
     Property Damage                 REQUEST FOR FOREIGN JUDGMENT




                          Filer' Attorney's Signature                                                    Date




       CV-496/Februan 2023
